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                                    STATEMENT OF FACTS

        Your affiant is a Special Agent with the Federal Bureau of Investigation (FBI) and has
been so employed since January 2004. As a Special Agent with the FBI, I am authorized by law
or by a Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws. I am assisting in the investigation and
prosecution of events which occurred at the United States Capitol on January 6th, 2021.

        Because this Affidavit is submitted for the limited purpose of the requested complaint
and arrest warrant, I have not included each and every fact known to me or to others concerning
this investigation.

       The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around
the U.S. Capitol include permanent and temporary security barriers and posts manned by U.S.
Capitol Police. Only authorized people with appropriate identification are allowed access inside
the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to
members of the public.

                         Incursion at the U.S. Capitol on January 6, 2021

       The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is secured 24
hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include permanent and
temporary security barriers and posts manned by U.S. Capitol Police. Only authorized people
with appropriate identification are allowed access inside the U.S. Capitol.

          On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members of the
public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate
were meeting in separate chambers of the United States Capitol to certify the vote count of the
Electoral College of the 2020 Presidential Election, which had taken place on November 3, 2020.
The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30
p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior


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of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside.

        At approximately 2:00 p.m., certain individuals in the crowd forced their way through,
up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd advanced to
the exterior façade of the building. The crowd was not lawfully authorized to enter or remain in
the building and, prior to entering the building, no members of the crowd submitted to security
screenings or weapons checks by U.S. Capitol Police Officers or other authorized security
officials.

        At such time, the certification proceedings still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however,
shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by
breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd
encouraged and assisted those acts. Individuals in the crowd also encouraged and assaulted
assisting police officers from the Washington D.C. Metropolitan Police Department who
responded upon a call for assistance from the U.S. Capitol Police.

        Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, all proceedings
of the United States Congress, including the joint session, were effectively suspended until
shortly after 8:00 p.m. the same day. In light of the dangerous circumstances caused by the
unlawful entry to the U.S. Capitol, including the danger posed by individuals who had entered
the U.S. Capitol without any security screening or weapons check, Congressional proceedings
could not resume until after every unauthorized occupant had left the U.S. Capitol, and the
building had been confirmed secured. The proceedings resumed at approximately 8:00 pm after
the building had been secured. Vice President Pence remained in the United States Capitol from
the time he was evacuated from the Senate Chamber until the session resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside and outside of the U.S.
Capitol building without authority to be there.

                                  Facts Specific to Luke Coffee

        As described in greater detail below, there is probable cause to believe, that, in the midst
of the riots and civil disorder described herein, Luke Coffee used a crutch to assault police
officers from the Washington D.C. Metropolitan Police Department (“MPD”). These MPD
officers were present to assist Federal Law Enforcement officers, specifically the U.S. Capitol

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Police (“USCP”), with protecting the U.S. Capitol and its occupants against the rioters. Your
affiant, as part of the overall FBI investigation into this incident, has collected numerous pictures
and videos showing Coffee assaulting law enforcement officers at the U.S. Capitol on January 6,
2021. Coffee was identified as the person in these pictures and videos by civilians who know
Coffee, a college classmate who happens to be a Special Agent with the FBI, and your affiant’s
review of Coffee’s driver’s license and other known photographs.

         On January 11, 2021, the FBI Newark Field Office conducted an interview of an
individual, hereafter referred to as Witness 1, who had contacted the FBI with information on
Luke Coffee. Witness 1 stated that Witness 1 met Coffee once in the summer of 2020 and
recognized Coffee as appearing in videos of the riot at the Capitol Building Witness 1 had seen
posted on social media and YouTube. Witness 1 also viewed Luke Coffee in October 2020 on a
social media video in which Luke Coffee discussed several conspiracy theories. Witness 1 stated
that, in a YouTube video of the riots, Coffee was wearing “attire that stood out.” I subsequently
reviewed and collected the YouTube video described by Witness 1. I have captured a screen
shot of this video and it appears below as Figure 1.

Figure 1.




        On January 13, 2021, following up on the tip from Witness 1, an FBI agent from the FBI
Dallas Field Office located and telephonically conducted an interview of Luke Coffee. During
the interview, Coffee admitted being present at the U.S. Capitol on January 6, 2021. Coffee
informed the interviewing agent that he had been wearing a brown hat and held up a crutch over
his head while at the Capitol. Coffee stated he did not engage in any type of physical
confrontations with the police while at the Capitol Building. Coffee further stated to the
interviewing agent that, on January 4, 2021, he departed Dallas, TX via a truck, and arrived in
Washington D.C. on the night of January 5, 2021. Coffee stated that he could not recall where
he resided while in Washington D.C. Coffee informed the interviewing agent he returned to
Dallas, TX on or about January 7th.

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       The FBI Washington Field Office published multiple Seeking Information posters with
photographs of individuals that were participants in the riot at the U.S. Capitol Building on
January 6, 2021. One such poster was published by the FBI on January 16, 2021, and is labeled
as Figure 2 below.

Figure 2.




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        After the issuance of Figure 2, the FBI received several tips identifying the subject
photograph listed at #108-AFO as Luke Coffee. Several of the tips also included screen shots from
various public online social media accounts attributed to Luke Coffee or copied from other
individuals identifying the subject online through social media as Luke Coffee. The tips included
photographs and screen shots of an individual wearing the same clothing as the subject in
Photograph #108-AFO, specifically a brown cowboy style hat, a camouflage jacket, a blue
bandana, and grey backpack. The tips further identified the individual, Luke Coffee, as residing
in the Dallas, Texas area.

        Some of the tips provided to the FBI included further identifying information for Luke
Coffee, included screen shots from various online social media platforms. I have captured two
of these screen shots from submitted tips and labeled them as Figure 3 and Figure 4 below.

Figure 3.




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Figure 4.




       Figure 3 appears to your affiant to be a screen shot from the social media platform known
as Facebook. Your affiant has learned through this investigation that Luke Coffee utilized
Facebook as a social media platform under account name “Luke Coffee.” Several of the tips
submitted to the FBI pertaining to Luke Coffee also referenced the pictured Facebook account as
being associated with Luke Coffee from Dallas, TX.

        I also reviewed several tips that were provided by individuals who claim to have personal
and firsthand contact with Luke Coffee. Some of the contacts included people who reported
having been college classmates and associates from the Dallas, TX area.

        On January 22, 2021, an FBI agent from the FBI Washington Field Office informed your
affiant that he had viewed social media platforms attributed to Coffee before they were blocked
from public viewing. The agent informed your affiant that he viewed several online postings
made by Coffee that indicated Coffee was present at the Capitol on January 6, 2021. The agent
explained that he and Coffee were college classmates.

       Since Luke Coffee is a resident of Texas, I obtained and reviewed a driver’s license
photograph of Luke Coffee. I believe the photograph from the Texas Driver’s License of Luke
Coffee matches the photographs of the subject in Figures 1 through 4.



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        After reviewing the video described by Witness 1 (Figure 1 screenshot), it is your
affiant’s assessment that the clothing worn by the individual in Figures 3 and 4 matches the
clothing of the subject identified as #108-AFO from Figure 2.

        During this investigation and other similar investigations pertaining to the incidents at the
Capitol Building, your affiant has reviewed and collected video footage from various sources, to
include various social media platforms and online postings submitted for public viewing on the
Internet.

        Your affiant has also reviewed and collected video provided by the USCP, which
includes security camera footage inside and outside of the Capitol Building. Your affiant has
also reviewed and collected video provided by MPD. While reviewing these various sources of
video footage, your affiant has observed an individual who appears to be Luke Coffee on several
different videos. Your affiant observed in the videos that Luke Coffee is wearing the same
clothing as in Figures 1 through 4.

       Based on information I have reviewed, I estimate that between approximately 4:00 p.m.
and 4:30 p.m., Coffee was on the steps of the Capitol Building, specifically on the steps of the
Lower Terrace tunnel entranceway. The Lower Terrace is located on one of the lower areas of
the Capitol Building and is facing towards the National Mall.

        At approximately between 4:15pm and 4:20pm, Coffee proceeded up the steps to the
Lower Terrace entrance way, which is covered by an archway leading into the Capitol Building.
I observed Luke Coffee turn towards the crowd and he appeared to make several statements,
none of which were audible on the video I reviewed. A screenshot from this video is labeled as
Figure 5 below.




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Figure 5.




      At approximately between 4:20pm and 4:25pm, Coffee turned and proceeded into the
Lower Terrace entranceway. This was in the direction of police officers from the USCP and
MPD who were attempting to prevent the rioters from entering the Capitol.

         Your affiant has reviewed a number of videos of this location during this timeframe and
interviewed some of the MPD and USCP officers who were present and engaged in violent
confrontations with protesters in the same area. Your affiant has learned that several MPD and
USCP police officers were injured by these violent confrontations, to include at least one MPD
officer who was violently dragged down the Lower Terrace steps by the protesters. I observed
this to be around the same time Coffee appeared in videos as being in the Lower Terrace area. In
addition to being struck by the rioters with various blunt objects, officers were also being injured
by various items being thrown at them in the Lower Terrace tunnel area. I observed Coffee
approaching these same officers at the same time the officers were being violently engaged by
other protesters.

       I reviewed and collected footage from a Capitol Building security surveillance camera in
which I observed Luke Coffee facing MPD and USCP officers stationed at the Lower Terrace
entrance tunnel at approximately 4:26 p.m. A screen shot from this video is labeled as Figure 6
below.




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Figure 6.




        During the course of this investigation, I have reviewed and collected video from two
MPD officers who were positioned in the front line of the MPD and USCP officers engaged with
rioters at the Lower Terrace area of the Capitol Building. These two officers were wearing body
cameras (“body cams”) which recorded the violent incidents with the rioters during the same
time as Luke Coffee appeared at the top of the stairs. On both of these two MPD officers’ body
cams, I observed Coffee make physical contact with MPD and USCP officers; the time Luke
Coffee is observed and recorded by these two MPD body cams is approximately 4:27 p.m. Two
screen shots from the body cams showing Coffee approaching the officers are labeled as Figure 7
and Figure 8 below.




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Figure 7.




Figure 8.




        One of the MPD officer body cams shows that, at approximately 4:28pm, Coffee
retrieved a crutch from the area at the top of the stairs to the Lower Terrace area. A screen shot
from this video is labeled as Figure 9 below.




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Figure 9.




        In the various videos I have reviewed in connection with my investigation, I have
observed this same crutch used by rioters to attack MPD and USCP officers. In these same
videos, I further observed Coffee pick up this crutch and hold it over his head. At first, Coffee
turned and faced the crowd of rioters and then turned and approached the line of police officers
with the crutch still over his head. A screen shot from the same Capitol Building security video
is labeled as Figure 10 below.

Figure 10.




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        Civilians submitted videos from social media and video platforms to the FBI that show
different angles of the same series of events. For example, Figure 11 is a second screen shot
from the same YouTube video described by Witness 1. 1

Figure 11.




        I observed on the same video sources, at approximately 4:28pm, Coffee lowered the
crutch approximately chest high and then lowered it to waist high and proceed to push the crutch
into the line of MPD and USCP officers. I have viewed this incident on the aforementioned two
body cams that were being worn by two different MPD officers who were present at this time
and location. Screen shots from their two different angles are labeled as Figures 12-16 below.




1
 I have reviewed this video, as has at least one other FBI Special Agent, and neither that agent nor I believe the
video captures the assault described herein. The video is, in my estimation, not taken at an angle to capture the
assault that is recorded on the body cam footage described in this affidavit.

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Figure 12.




Figure 13.




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Figure 14.




Figure 15.




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Figure 16.




        One of the MPD officers’ body cam videos shows Coffee come into physical contact with
an MPD officer to the left of one the MPD officers equipped with the aforementioned body cam.
This MPD officer appears to grab Coffee with his right hand in an attempt to force Coffee back
while Coffee continues to hold the crutch below his waist. A screen shot that recorded this
interaction from the MPD officer body cam is labeled as Figure 17 below.




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Figure 17.




         I have reviewed footage from the other body cam equipped MPD officer that recorded the
moments after Coffee is forced away and back from MPD and USCP officers. This video shows
that, after being forced back from the officers, Coffee charged at the officers while still holding
the crutch. The video also shows Coffee holding the crutch in a more aggressive manner and
position towards the police officers. It appears to your affiant, based on this footage, that Coffee
intended to further use the crutch as blunt object weapon by positioning the crutch directly toward
the officer’s upper chest/head area. During this same recorded MPD body cam footage, it appears
to your affiant that two MPD officers are required to hold back Coffee. Screen shots from this
MPD officer’s body cam footage which recorded this physical confrontation are labeled as Figures
18-22 below.




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Figure 18.




Figure 19.




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Figure 20.




Figure 21.




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Figure 22.




       One of the same body cam videos shows that, at approximately 4:29 p.m., Coffee moved
backwards down the stairs of the Lower Terrace while being assisted by another rioter. I did not
observe Luke Coffee engage police officers after departing the Lower Terrace area.




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                                         CONCLUSION

        Based on the foregoing, there is probable cause to believe that, on or about January 6, 2021,
in the District of Columbia Luke Coffee committed violations of 18 U.S.C. §§ 111(b) (Assault of
Federal Law Enforcement Officer with Dangerous Weapon), 231(a)(3) (Interference with Law
Enforcement Officer During Civil Disorder), 1512(c)(2) (Obstruction of an Official Proceeding),
and 1752(a)(1) and (2) (Unlawful Entry on Restricted Grounds), and 40 U.S.C. § 5104(e)(1)
(Disorderly Conduct on Capitol Grounds).




                                                   Respectfully submitted,



                                                   Jeffrey Johannes
                                                   Special Agent
                                                   Federal Bureau of Investigation


       Subscribed and sworn by telephone pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on
February 16, 2021.       Digitally signed by G.
                       Michael Harvey
                       Date: 2021.02.16 13:20:35
       _________________________________________
                       -05'00'
       G. MICHAEL HARVEY
       UNITED STATES MAGISTRATE JUDGE




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